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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISCTICT OF FLORIDA
                              TAMPA DIVISION

JANE DOE,

         Plaintiff,

vs.                                               CASE NO: 8:21-cv-01245-CEH-CPT

NEW COLLEGE OF FLORIDA, a
Public University and Member of the
State University System; and
NEW COLLEGE OF FLORIDA
BOARD OF TRUSTEES, a Florida
Public Entity,

         Defendants,

                                          /

          DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS

         COME NOW the Defendants, NEW COLLEGE OF FLORIDA (“NCF”) and

NEW COLLEGE OF FLORIDA BOARD OF TRUSTEES (“NCBT”), by and

through undersigned counsel, and disclose the following pursuant to this Court's

interested persons order:

      (1) The name of each person, attorney, association of persons, firm, law firm,

         partnership, and corporation that has or may have an interest in a party to this

         action or in the outcome of this action - including subsidiaries, conglomerates,

         affiliates, parent corporations, publicly-traded companies that own 10% or

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      more of a party's stock, and all other identifiable legal entities related to any

      party in the case:

            a.     Jane Doe, Plaintiff

            b.     The Mallard Law Firm

            c.     Elizete Velado, Esq.

            d.     Samuel R. Mandelbaum, Esq.

            e.     Mandelbaum, Fitzsimmons, Hewitt & Cain, P.A.

            f.     Cheikhou Kane

            g.     New College of Florida (a Public University in Florida’s state

                   university system);

            h.     New College Board of Trustees

            i.     David Fugett, Esq., General Counsel for New College of Florida

            j.     Dr. Robin Williamson, Ph.D.



2. The name of every other entity whose publicly-traded stock, equity, or debt may

be substantially affected by the outcome of the proceedings:


      None known.




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3. The name of every other entity which is likely to be an active participant in the

proceedings, including the debtor and members of the creditors' committee (or

twenty largest unsecured creditors) in bankruptcy cases:

      None known.

4. The name of each victim (individual and corporate) of civil and criminal conduct

alleged to be wrongful, including every person who may be entitled to restitution:

      None known.


   1. Check one of the following:

      ____X____ a. I certify that, except as disclosed, I am unaware of an actual or
      potential conflict of interest affecting the district judge or magistrate judge in
      this action and I will immediately notify the judge in writing within fourteen
      days after I know of a conflict.

      __________ b. I certify that I am aware of a conflict or basis of recusal of the
      District Judge or Magistrate Judge as follows (explain)

      Dated: 8/6/2021


                          MANDELBAUM, FITZSIMMONS, HEWITT &
                          CAIN, P.A.

                                /s/ Samuel R. Mandelbaum, Esq.
                          ______________________________________________
                          Samuel R. Mandelbaum, Esq.
                          Florida Bar No. #270806
                          Post Office Box 3373
                          Tampa, Florida 33601
                          Telephone: (813) 221-0200
                          Facsimile: (813) 221-8558
                          Attorneys for Defendants
                                           3
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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and accurate copy of the above and

foregoing has been furnished electronic filing through the U.S. District Court CM –

ECF filing system which will electronically send copies to Elizete D. Velado, Esq.,

Mallard Law Firm, P.A., 889 N. Washington Blvd., Sarasota, Florida 34236 at

elizete@mallardlawfirm.com, on this __10___ day of August, 2021.



                               /s/ Samuel R. Mandelbaum, Esq.

                         ______________________________________________
                                        ATTORNEY




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